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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
OT, LLC, et al.,                        *
                       Plaintiffs,
                                             *
                 v.
                                             *
                                                   No. 1:17-cv-02812-SAG
HARFORD COUNTY, MARYLAND,                    *
et al.,                                      *
                       Defendants.

          *      *     *      *    *    *   *   *   *   *                 *      *
                           NOTICE OF INTERLOCUTORY APPEAL

          Pursuant to Federal Rule of Appellate Procedure 3(a)(1), notice is hereby given

 that Defendants Patrick McDonough and Richard Impallaria hereby appeal to the United

 States Court of Appeals for the Fourth Circuit from this Court’s Memorandum Opinion

 (ECF No. 222) and Order (ECF No. 223), which were entered on the 24th day of

 October, 2019, and which denied in part Defendants’ motion for summary judgment

 (ECF No. 199).
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                                             Respectfully submitted,

                                             BRIAN E. FROSH
                                             Attorney General of Maryland

                                             /s/ Sarah W. Rice
                                             ___________________________
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November 18, 2019                            Attorneys for Defendant



                          CERTIFICATE OF SERVICE

      I certify that, on this 18th day of November, 2019 the foregoing was served by

CM/ECF on all registered CMF users.




                                             /s/ Sarah W. Rice
                                             ________________________
                                             Sarah W. Rice




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